SO ORDERED.

DONE and SIGNED May 16, 2019.




                                    ________________________________________
                                    JOHN S. HODGE
                                    UNITED STATES BANKRUPTCY JUDGE
         ____________________________________________________________




                   UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF LOUISIANA
                           MONROE DIVISION

IN RE:                              §              Case Number: 18-31573
                                    §
Kerry Norris Lewis                  §              Chapter 13
      Debtor                        §
____________________________________§
Kerry Norris Lewis                  §
      Plaintiff                     §              Adversary Proceeding
                                    §
vs.                                 §              Case No. 18AP-3016
                                    §
Money Mayday Loans and              §
Tracy Cullum                        §
      Defendants                    §

                                   Judgment

      Before the Court is a Motion for Default Judgment (the “Motion”) (Doc. 10).

For the reasons set forth in the Memorandum of Decision,

      IT IS ORDERED that:




  18-03016 - #24 File 05/16/19 Enter 05/16/19 16:58:16 Main Document Pg 1 of 2
       1.       The Motion is hereby GRANTED.

       2.       Kerry Norris Lewis (“Plaintiff”) shall recover from Money Mayday

Loans, Inc. and Tracy Cullum (collectively “Defendants”), in solido, the amount of

$21,895.00 which is hereby awarded by this Court pursuant to 11 U.S.C. § 362(k),

representing: (a) damages for the loss of property in the amount of $2,050.00; (b)

damages for the lost wages in the amount of $312.00; (c) damages for transportation

costs in the amount of $698.00; (d) emotional distress damages of $3,000.00; (e)

$5,835.00 for recovery of attorney’s fees and expenses; and (f) punitive damages in

the amount of $10,000.00.

       3.       Plaintiff shall also recover from Defendants, in solido, judicial interest

on all amounts awarded by this Judgment, said interest calculated using the

maximum federal judicial interest rate from the date of judicial demand and until

paid in full.

       4.       Defendants are solidarily liable for all amounts awarded by this Court.

       5.       The Clerk of Court shall serve a copy of this Judgment and the

Memorandum of Decision on each Defendant by regular, first class United States

mail, postage fully pre-paid, addressed to:

       Money Mayday Loans
       Attention: Andrew G. Nolan, Registered Agent
       809 North 4th Street, Ste C
       Monroe, LA 71201

       Tracy Cullum
       809 North 4th Street, Ste C
       Monroe, LA 71201
                                            ###




  18-03016 - #24 File 05/16/19 Enter 05/16/19 16:58:16 Main Document Pg 2 of 2
